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            Case 1:20-mj-03857-AOR Document 7 Entered on FLSD Docket 10/23/2020 Page 1 of 1

                                                       M IN UTE O RD ER                                                        Page14
                                    M agistrate Judge A licia M .O tazo-Reyes
                      AtkinsBuildingCourthouse-10th Floor                                Date:10/22/20 Time:1:30p.m.
        Defendant: 2)MariettaTerabelian      J#:61233-112                     Case#: 20-mj-3857-Otazo-Reyes
    AUSA: x                       (l                    Attorney: LarryM cM illian(Temp)
    vjolation: C/D/CA/Warr omp/conspiraa/commit/wire/Bank surr/ArrestDate: YOB:
                  Fraud

    Proc e ' : RRc/statusRe:Garcia Hrg./Detention Hrg. CJA Appt:
    Bo d/PTD eld: Yes C No          Recommended Bond:Temp Ptd
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             Random urine testing by Pretrial
        Sr Services                                                                   -
             Treatmentasdeemednecessary                                                            Ca                      vj. es
        RC Refrainfrom excessiveuseofalcohol                                                  Q-r-es'-zu- l.t-
        RC Participateinmentalhealthassessment&treatment                              -        ,V            2                       (tt7
        SC Maintainorseekfull-timeemployment/education                                                  0 :'                    />(
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        NEXT CO URT APPEARANCE     Date:               Time:            Judge:                                    Place:
        ReportRE Counsel:
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        Prelim/ArraignorRemoval:
        statuscon erence RE:
        D.A.R.   J :6(-
                      .;                                                         Timeincourt:                                  '
                                              s/Alicia M .Otazo-Reyes                                        M agistrateJudge
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